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                                   STATEMENT OF FACTS

        I am a Special Agent with the Federal Bureau of Investigation and have been so employed
in that capacity since June 2004. Currently, I am assigned with investigating criminal activity in
and around the United States Capitol grounds on January 6, 2021. Through my training and
experience, I have become familiar with the tools used in the investigation of such criminal
activity, including surveillance, evidence collection, and conducting interviews of witnesses,
informants, and others with knowledge of the offenses. As a federal agent, I am authorized to
investigate violations of laws of the United States, and as a law enforcement officer, I am
authorized to execute warrants issued under the authority of the United States.

       The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting
in separate chambers of the U.S. Capitol to certify the vote count of the Electoral College of the
2020 Presidential Election, which had taken place on November 3, 2020. The joint session began
at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.



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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                        Identification of Mellors

       On January 7, 2021, the Federal Bureau of Investigation (FBI) received a tip from Tipster
1 about a man with a bloody ear. Tipster 1 included photos which can be seen in Exhibit 1, below:

                                             Exhibit 1




        Based on information obtained during the course of the investigation, including searches
of law enforcement databases, comparison of a state-issued driver’s license photograph and an in-
person interview (see below), I believe the individual depicted in the Exhibit 1, above, and the
Exhibits, below, to be WILLIAM HENDRY MELLORS (MELLORS).

       On or about April 5, 2021, the FBI identified a picture which appeared to show an
individual believed to be MELLORS spraying officers with a chemical substance on January 6,
2021. The image was found at jan6attack.com and can be seen in Exhibit 2, below:




                                                 2
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                                           Exhibit 2




        Open source databases, which have collected and cataloged images and video from the
January 6, 2021 U.S. Capitol attack, gave the individual in the picture the nickname,
“#bluespraynozzle.” MELLORS appeared to be wearing a blue hooded sweatshirt with a white
flag on the chest, black baseball cap with a yellow Gadsden flag patch, black gloves and a yellow
and black gator style face covering. The backpack is black in color and appears to have multiple
patches on the back. Exhibit 3, below, contains a few examples of the patches:

                                               Exhibit 3




                                               3
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        The substance that MELLORS sprayed appears to be yellow in color and emitted from a
light colored can with bright orange/red top. Open source searches found a potential match for
this can in appearance. The can appears to be commercially available “bear spray.” Exhibit 4,
below, is a highlighted version of the individual assaulting officers with spray and the type of spray
believed to be used in the assault.

                                             Exhibit 4




                                                  4
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        Exhibit 5, below, is a closeup version of the type of spray believed to be used in the attack.
Capsaicin is a similar substance type utilized by law enforcement officers to incapacitate resisting
subjects and is an irritant chemical substance. The bear spray is intended to be used against bears
and can be sprayed from longer distances than the spray used by law enforcement. The label of
this spray directs that this type of spray is not to be used on humans:

                                             Exhibit 5




        The same individual appeared in several other open source photos and video at the same
location. After spraying the substance, the subject walks back toward the camera and can be seen

                                                  5
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more clearly. Other views of the subject show a closer detail of the backpack patches. Exhibit 6,
below, is a collage of some of those photos and screenshots from videos:

                                                 Exhibit 6




       The FBI reviewed flight records for MELLORS, who resided in the Houston, Texas area
around January 6, 2021, and determined that he flew Southwest Airlines flight 1261 on January 5,
2021, from Houston Hobby Airport, Houston, Texas to Baltimore/Washington International
Airport, Baltimore, Maryland and returned to Houston on January 7, 2021.

        Your affiant reviewed the open source YouTube Video, “We Outside – Forgiato Blow Ft
NashvillainOG & Stilmatic” and identified MELLORS was in the video. MELLORS can be seen
with a cannister similar to the Bear Spray in Exhibits 4-5, above, on his tactical gear. A screenshot
from the video is provided in Exhibit 7, below:




                                                 6
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                                          Exhibit 7




                                MELLORS’ Parler Account

       MELLORS posted pictures to a Parler account with username @FAAFO512. One was
MELLORS with rapper “Forgiato,” which stated “Forgiato in DC! And I got to be in his music
video at the Capital. Awesome start to a crazy ending.” A screenshot of the post is included as
Exhibit 8, below:




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                                          Exhibit 8




         According to legal process served on Parler, username @FAAFO512 is associated with the
email address wmellors71@gmail.com, phone number XXX-XXX-2793, and the signup Internet
Protocol (IP) address used to create the account was 73.232.116.69. According to open source
records, the IP address 73.232.116.69 relates to Comcast Communications in Houston, Texas.
According to Google customer records obtained by legal process, the email address
wmellors71@gmail.com is registered to MELLORS, telephone number XXX-XXX-2793. Based
on this information and my in-person interview with MELLORS (see below), I believe MELLORS
created and used the Parler account @FAAFO512 on and around January 6, 2021.

        Following the events of January 6, 2021, MELLORS posted a picture of his injured ear on
his Parler account, @FAAFO512, and stated the following: “Took a nice beat down from
Washington DC police tonight. Some tear gas and a riot baton. Broken ribs and some stitches
needed. But nothing compared to Ashli Babbit who was murdered by Police. RIP, you deserved
better from the country you served! #defundthepolice.” A screenshot of this post is included as
Exhibit 9, below:




                                              8
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                                           Exhibit 9




        A further review of MELLORS’ Parler account, which was reposted on Twitter, showed
Mellors at other rallies and responding to the Harris County, Texas Proud Boys. See Exhibits 10-
11, below:




                                               9
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                           Exhibit 10




                           Exhibit 11




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                           First Voluntary Interview of MELLORS

         On April 27, 2022, MELLORS was interviewed at his residence located in Tomball,
Texas. During the interview, MELLORS confirmed his travel to Washington, D.C. and attendance
at the pro-Trump rally on January 6, 2021. MELLORS admitted that he joined a crowd of “rabid”
protestors on U.S. Capitol grounds, and the crowd was attempting to push its way inside the U.S.
Capitol building. As the crowd began pushing towards the Capitol building, and MELLORS said
he could barely breathe. At some point, he felt something hit him on the right of his head from
behind, he fell to the ground, and felt dizzy. MELLORS then noticed his ear was bleeding.

        During the Trump rally in November, MELLORS met a group of Proud Boys. MELLORS
said at the time he was wearing a black and yellow "Don't Tread on Me" bandana and was
approached by the group. According to MELLORS , the group of men asked him to walk some
ladies back to their hotel to protect them from Antifa. MELLORS said the men seemed like nice
people.

       Due to having limited investigative information at the time of the interview, MELLORS
was not asked whether he used bear spray on January 6, 2021. MELLORS sent emails to writer
from the email address wmellors71@gmail.com and provided his phone number, XXX-XXX-
2793, for re-contact. This information matched the subscriber information for MELLOR’s Parler
account. In addition, Mellors provided pictures and videos taken the day of January 6, 2021, which
were saved on his cellular device. Exhibits 12-15, below, are some of the photos provided:

                                           Exhibit 12




                                               11
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                           Exhibit 13




                           Exhibit 14




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                                           Exhibit 15




                                       Search Warrant

       On May 27, 2022, a search of MELLORS’ residence in Tomball, Texas was conducted.
Law enforcement seized the items that MELLORS wore on January 6, 2021, including a blue
sweatshirt, black gloves, a black and yellow gator, a black hat with a yellow patch, a black back
pack, and a black tacitical vest.

                         Second Voluntary Interview of MELLORS

        On May 31, 2022, MELLORS was re-interviwed by the FBI in Houston, Texas.
MELLORS admitted that he brought two cannisters of bear spray with him to Washington, D.C.
on January 6, 2021. MELLORS told the agents he expected that he would be arrested for his
actions on January 6, 2021.

                                            Charges

        Based on the foregoing, your affiant submits that there is also probable cause to believe
that WILLIAM MELLORS violated 18 U.S.C. §§ 111(a)(1) and (b), which makes it a crime to
forcibly assault, resist, oppose, impede, intimidate, or interfere with any person designated in
section 1114 of title 18 while engaged in or on account of the performance of official duties and
using a deadly or dangerous weapon (including a weapon intended to cause death or danger but

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that fails to do so by reason of a defective component). Persons designated within section 1114
include any person assisting an officer or employee of the United States in the performance of their
official duties.

        Your affiant submits there is probable cause to believe that WILLIAM MELLORS violated
18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.

        Your affiant submits that there is probable cause to believe that WILLIAM MELLORS
violated 18 U.S.C. §§ 1752(a)(1), (2) and (4), which makes it a crime to (1) knowingly enter or
remain in any restricted building or grounds without lawful authority to do; (2) knowingly, and
with the intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; and (4) knowingly engages in any act of physical
violence against any person or property in any restricted building or grounds; or attempts or
conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.




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        Your affiant submits there is also probable cause to believe that WILLIAM MELLORS
violated 40 U.S.C. § 5104(e)(2)(D) & (F), which makes it a crime to willfully and knowingly: (D)
utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb
the orderly conduct of a session of Congress or either House of Congress, or the orderly conduct
in that building of a hearing before, or any deliberations of, a committee of Congress or either
House of Congress; and (F) engage in an act of physical violence in the Grounds or any of the
Capitol Buildings. An act of physical violence includes damage to, or the destruction of, real or
personal property.



                                                      _________________________________
                                                      Amy L. Avila
                                                      Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 15th day of July 2022.                                 Digitally signed by
                                                                     G. Michael Harvey
                                                                     Date: 2022.07.15
                                                                     11:16:49 -04'00'
                                                      ___________________________________
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE




                                                 15
